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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND



UNITED STATES OF AMERICA                            *
                                                    *   CRIMINAL NO. CCB-18-0276
     V                                              *
                                                    *
DARRYL DE SOUSA                                            *
*        *      *      *      *      *      *      *      *      *      *      *      *

                                  ENTRY OF APPEARANCE

         Please enter the appearance of Andrew C. White and Steven D. Silverman as counsel for

defendant Darryl De Sousa.


                                           Respectfully Submitted,




                                            ____________/S/___________________
                                            Andrew C. White (Federal Bar No. 08821)
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